    Case 1:01-cv-12257-PBS Document 6528-83 Filed 09/22/09 Page 1 of 4




                               Exhibit 82



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
    Case 1:01-cv-12257-PBS Document 6528-83 Filed 09/22/09 Page 2 of 4

Niemann, Robert                                        September 14, 2007
                             Baltimore, MD

                                                                         1


                     UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MASSACHUSETTS

      - - - - - - - - - - - - - - -x

      IN RE:     PHARMACEUTICAL         :   MDL NO. 1456

      INDUSTRY AVERAGE WHOLESALE        :   CIVIL ACTION

      PRICE LITIGATION                  :   01-CV-12257-PBS

      THIS DOCUMENT RELATES TO          :

      U.S. ex rel. Ven-a-Care of        :   Judge Patti B. Saris

      the Florida Keys, Inc.            :

            v.                          :

      Abbott Laboratories, Inc.,        :   Chief Magistrate

      No. 06-CV-11337-PBS               :   Judge Marianne B.

      - - - - - - - - - - - - - - -x          Bowler

                                   Baltimore, Maryland

                                   Friday, September 14, 2007



         Videotaped Telephone Deposition of ROBERT NIEMANN




                       Henderson Legal Services
                            202-220-4158
     Case 1:01-cv-12257-PBS Document 6528-83 Filed 09/22/09 Page 3 of 4

Niemann, Robert                                                                        September 14, 2007
                                               Baltimore, MD
                                                                    70 (Pages 274 to 277)
                                                     274                                                           276
 1            MR. COOK: Before moving on, I think we          1       A. Yes. I wouldn't have remembered the time
 2   wanted to put on the record that for both sides, an      2   frame, but I remember the terminology.
 3   objection for one is an objection for all.               3       Q. All right. The second paragraph on the
 4            MS. OBEREMBT: That sounds fine.                 4   first page under proposal. Tell me if I'm right, but
 5            MR. HOVAN: That's great.                        5   I believe it reads, "we propose to eliminate the EAC
 6            MS. OBEREMBT: The Three Musketeers              6   criterion and add two others, the actual acquisition
 7   objection policy.                                        7   cost and the median AAC for the previous 12 months."
 8               (Exhibit Abbott 314 was                      8   Is that correct?
 9               marked for identification.)                  9       A. Yes.
10            BY MR. COOK:                                   10       Q. Based upon your work in the agency, do you
11       Q. Mr. Niemann, I've handed you what we have        11   have some idea who we might be?
12   marked as Exhibit Abbott 314, which is a document       12       A. Usually that was the agency, i.e. the
13   with no apparent date on the first page at least        13   administrator, et al.
14   entitled Medicare program payment for drugs with        14       Q. Just from looking at this document and the
15   titles, current policy proposal and average wholesale   15   nature of the issues discussed in this document, do
16   price on the first page. It bears Bates numbers HHC     16   you have some idea of who the target audience for the
17   902-0001 through page 0016. Could you look through      17   document might have been?
18   that document and tell me if you recognize at all       18       A. I have a guess. I mean --
19   what it is?                                             19       Q. Who would that be? What would the guess
20       A. I don't remember the context of it, but it       20   be?
21   looks like various, various ways to pay for drugs.      21           MS. OBEREMBT: You can guess.
22       Q. Is this the sort of document that -- well,       22           THE WITNESS: To me this reads like

                                                     275                                                           277
 1   let me ask you to flip through to Bates number page      1   something that would go in the Federal Register. The
 2   0010 of the document. It's in the bottom right-hand      2   target audience would be the public.
 3   corner. And you see at the top, there is a date          3           BY MR. COOK:
 4   December 6, 1995?                                        4      Q. And so this appears as if it might be a
 5       A. Uh-huh.                                           5   draft of a notice of proposed rule making that never
 6       Q. Assuming that this document is dated in or        6   made it into the Federal Register?
 7   around December of 1995, that would be a time in         7      A. That's what it looks like to me. That
 8   which you would be the policy analyst responsible for    8   would be my guess. That's how it reads to me.
 9   the Medicare program payment for drugs, correct?         9      Q. Do you recall that in fact the agency was
10       A. Yes.                                             10   considering promulgating a rule to go to actual
11       Q. Is this the type of document or draft that       11   acquisition costs and eliminate the estimated
12   you would have prepared as the policy analyst on that   12   acquisition cost criteria?
13   topic?                                                  13           MS. OBEREMBT: Object on the grounds of
14       A. Yes.                                             14   deliberative process and instruct you not to answer.
15       Q. And looking through this, do you recall          15           BY MR. COOK:
16   preparing this document or a document such as this      16      Q. Mr. Niemann, would you agree with me that
17   one?                                                    17   this document itself reflects a consideration by the
18       A. I actually don't.                                18   agency of eliminating the EAC criterion and going to
19       Q. Does this document jog your memory about         19   an actual acquisition cost methodology?
20   some of the issues that you were considering in or      20           MS. OBEREMBT: Objection.
21   about December of '95 on the question of payment for    21           THE WITNESS: But I should respond?
22   drugs?                                                  22           MS. OBEREMBT: Yes. You can answer. If


                                     Henderson Legal Services
                                          202-220-4158
     Case 1:01-cv-12257-PBS Document 6528-83 Filed 09/22/09 Page 4 of 4

Niemann, Robert                                                                            September 14, 2007
                                              Baltimore, MD
                                                                   71 (Pages 278 to 281)
                                                    278                                                                280
 1   you know.                                               1   about burden, it might have had to do with burden.
 2           THE WITNESS: I wish -- I'm actually             2     Q. And when you refer to burden, it would be
 3   embarrassed that I can't remember this better.          3   the burden on the supplier?
 4   That's unbelievable. My answer to your question         4      A.     That's right. The reporting burden.
 5   would be predicated on my guess as to who we is. And    5      Q.     If you can look under the discussion on
 6   that this actually was intended for the Federal         6   page --
 7   Register. Then I'd have to agree -- I certainly         7      A.     I just want to be clear.
 8   agree that that's what this says. The question mark     8      Q.     Yes, sir. Please.
 9   is whether this was far enough along that it was        9      A.     I wasn't saying that I remembered that
10   actually the agency considering doing this. I don't    10   burden was the reason this didn't see the light of
11   remember.                                              11   day. I don't. I'm responding to when you asked me
12           BY MR. COOK:                                   12   about political pressure, what the nature of the
13      Q. And if you turn to the next page in the          13   pressure might be. And in my vague recollection,
14   definitional section describing actual acquisition     14   pressure would have been more likely in the arena of
15   cost, AAC, the first sentence reads, "we propose to    15   burden as far as getting people's attention. But I
16   require suppliers to submit their actual acquisition   16   don't really remember why it was we didn't go forward
17   costs for each drug when billing the program for the   17   with this.
18   drug." Do I read that correctly?                       18      Q. On page 3 of this document, under the
19      A. Yes, you do.                                     19   heading discussion. You agree with me that this
20      Q. Would you agree with me that it was within       20   discussion refers to data from 1995, and indicating
21   the authority of HCFA to require suppliers to submit   21   an increase from 1992 to 1995 of Medicare allowed
22   their actual acquisition costs when billing the        22   charges for drugs from 680 million to $1.6 billion,

                                                    279                                                                281
 1   program for the drug?                                  1    correct?
 2       A. I just have a vague, gnawing -- if this         2        A. Yes.
 3   had made it to the Federal Register, I would           3        Q. The next sentence reads -- and tell me if
 4   certainly agree because OGC would have signed off on 4      I'm correct -- "there are numerous accounts of prices
 5   it. But given the nature of it, and we are not sure    5    for drugs charged to the Medicare program in excess
 6   how far along this got, I'm not certain what the       6    of the true marketplace, and the suppliers who bill
 7   problems were with that. I don't -- I don't            7    Medicare receive discounts below the manufacturer's
 8   remember.                                              8    published average wholesale price." And then the
 9       Q. Would you agree with me that one of the         9    next sentence reads, "in effect, the published
10   reasons why such a proposed rule might not make it    10    average wholesale price is not the average price
11   into the Federal Register would be political backlash 11    actually charged to wholesale customers." Did I read
12   from providers who would see their reimbursement cut? 12    that accurately?
13       A. That -- that certainly is reasonable that      13        A. Yes, you did.
14   that would have come into play.                       14        Q. And is that something that was likely
15       Q. But you don't have a specific memory of        15    written, if not by you, then by someone in a similar
16   whether or not that's the reason why this proposal    16    position to you?
17   never made it into the Federal Register?              17            MS. OBEREMBT: Objection.
18       A. No. Not that.                                  18            THE WITNESS: I think I did write that.
19       Q. Do you have a specific memory of why this      19            BY MR. COOK:
20   proposal never made it into the Federal Register?     20        Q. And so assuming that this document
21       A. It's vague. So once again, I'm not             21    actually was dated approximately December of '95, if
22   betting the farm on this, but I think complaints      22    the date on the latter pages is an accurate


                                    Henderson Legal Services
                                         202-220-4158
